 Case 2:23-cv-00472-JRG       Document 159 Filed 03/31/25   Page 1 of 4 PageID #:
                                       32584




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


SPORTSCASTR INC.                       §    Case No. 2:23-cv-00472-JRG
(d/b/a PANDA INTERACTIVE),             §
                                       §
      Plaintiff,                       §    JURY TRIAL DEMANDED
                                       §
v.                                     §    LEAD CASE
                                       §
SPORTRADAR GROUP AG, and               §
SPORTRADAR AG,                         §
                                       §
      Defendants.                      §

SPORTSCASTR INC.                       §    Case No. 2:23-cv-00471-JRG
(d/b/a PANDA INTERACTIVE),             §
                                       §    JURY TRIAL DEMANDED
                                       §
      Plaintiff,                       §
v.                                     §
GENIUS SPORTS LTD., et al.,            §
                                       §
      Defendants.                      §
Case 2:23-cv-00472-JRG        Document 159 Filed 03/31/25         Page 2 of 4 PageID #:
                                       32585



                         COVER TO ADDITIONAL DOCUMENTS

      Attachments are additional documents to main document, Sealed Motion to Dismiss

Counts V and VI of the Second Amended Complaint, Dkt. No. 157.

 Dated: March 31, 2025                        /s/ Michael C. Smith
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Case 2:23-cv-00472-JRG   Document 159 Filed 03/31/25   Page 3 of 4 PageID #:
                                  32586




                                    2
 Case 2:23-cv-00472-JRG         Document 159 Filed 03/31/25              Page 4 of 4 PageID #:
                                         32587



                                CERTIFICATE OF SERVICE

       This is to certify that on March 31, 2025, a true and correct copy of the above and

foregoing document has been served on all counsel of record via electronic mail and the Court’s

ECF system.

                                                  /s/ Michael C. Smith
                                                  Michael C. Smith
